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                                                  Main Document    Page 1 of 49

  Attorney or Party Name, Address, Telephone & FAX                          FOR COURT USE ONLY
  Nos., State Bar No. & Email Address
  Christopher B. Ghio (State Bar No. 259094)
  Christopher Celentino (State Bar No. 131688)
  DINSMORE & SHOHL LLP
  655 West Broadway, Suite 800
  San Diego, CA 92101
  Telephone: 619.400.0500; Facsimile: 619.400.0501
  christopher.ghio@dinsmore.com
  christopher.celentino@dinsmore.com
  Proposed Special Counsel to Richard A.
  Marshack,Chapter 11 Trustee

      Movant(s) appearing without an attorney
      Attorney for Movant(s)
                                        UNITED STATES BANKRUPTCY COURT
                            CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION

  In re:                                                                    CASE NO.: 8:23-bk-10571-SC
                                                                            CHAPTER: 11
  The Litigation Practice Group, PC,


                                                                                    DECLARATION THAT NO PARTY
                                                                                  REQUESTED A HEARING ON MOTION
                                                                                                   LBR 9013-1(o)(3)


                                                                                                   [No Hearing Required]
                                                             Debtor(s).


  1. I am the        Movant(s) or          attorney for Movant(s) or             employed by attorney for Movant(s).
  2. On (date): 06/07/2023            Movant(s) filed a motion or application (Motion) entitled: APPLICATION PURSUANT TO
      11 U.S.C. SECTION 327(a) AUTHORIZING THE RETENTION AND EMPLOYMENT OF DINSMORE & SHOHL
     LLP AS SPECIAL COUNSEL FOR CHAPTER 11 TRUSTEE RICHARD A. MARSHACK
  3. A copy of the Motion and notice of motion is attached to this declaration.

  4. On (date): 6/7/2023 and 6/8/2023 Movant(s), served a copy of the notice of motion or  the Motion and notice of motion
     on required parties using the method(s) identified on the Proof of Service of the notice of motion.

  5. Pursuant to LBR 9013-1(o), the notice of motion provides that the deadline to file and serve a written response and
     request for a hearing is 14 days after the date of service of the notice of motion, plus 3 additional days if served by
     mail, or pursuant to F.R.Civ.P. 5(b)(2)(D) or (F).

  6. More than 17         days have passed after Movant(s) served the notice of motion.

  7. I checked the docket for this bankruptcy case and/or adversary proceeding, and no response and request for hearing
     was timely filed.

  8. No response and request for hearing was timely served on Movant(s) via Notice of Electronic Filing, or at the street
     address, email address, or facsimile number specified in the notice of motion.

           This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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  9. Based on the foregoing, and pursuant to LBR 9013-1(o), a hearing is not required.

Movant(s) requests that the court grant the motion and enter an order without a hearing.

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.




    Date: 06/26/2023                                       _______________________________________________
                                                           /s/ Christopher Ghio
                                                           Signature


                                                           Christopher Ghio
                                                           _______________________________________________
                                                           Printed name




          This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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  1   Christopher Celentino (State Bar No. 131688)
      christopher.celentino@dinsmore.com
  2   DINSMORE & SHOHL LLP
      655 West Broadway, Suite 800
  3   San Diego, CA 92101
      Telephone: 619.400.0500
  4   Facsimile: 619.400.0501

  5   Proposed Special Counsel to the Chapter 11 Trustee,
      Richard A. Marshack
  6

  7

  8
                                UNITED STATES BANKRUPTCY COURT
  9
                     CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION
 10

 11    In re:                                           Case No. 8:23-bk-10571-SC

 12    THE LITIGATION PRACTICE GROUP P.C., Chapter 11

 13              Debtor.                                NOTICE OF FILING APPLICATION
                                                        PURSUANT TO 11 U.S.C. SECTION
 14                                                     327(a) AUTHORIZING THE RETENTION
                                                        AND EMPLOYMENT OF DINSMORE &
 15                                                     SHOHL LLP AS SPECIAL COUNSEL
                                                        FOR CHAPTER 11 TRUSTEE RICHARD
 16                                                     A. MARSHACK AND OPPORTUNITY
                                                        TO REQUEST A HEARING
 17
                                                        Date:     No Hearing Required
 18                                                     Time:
                                                        Ctrm:     5C
 19                                                               411 West Fourth Street, Suite 5130
                                                                  Santa Ana, California, 92701-4593
 20                                                     Judge:    Hon. Scott C. Clarkson

 21

 22             TO    THE    HONORABLE         SCOTT        C.   CLARKSON,        UNITED       STATES

 23   BANKRUPTCY JUDGE; THE OFFICE OF THE UNITED STATES TRUSTEE; AND ALL

 24   OTHER INTERESTED PARTIES:

 25             PLEASE TAKE NOTICE that Richard A. Marshack, court-appointed chapter 11 trustee (the

 26   "Trustee" or "Movant") in the chapter 11 case (the "Case") of the above-captioned debtor, The

 27   Litigation Practice Group P.C. (the "Debtor"), has filed an Application for authority to retain and

 28   employ the law firm of Dinsmore & Shohl LLP ("Dinsmore") as special counsel for the Trustee
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  1   pursuant to § 327(a) of Title 11 of the United States Code (the "Bankruptcy Code") and Rule 2014

  2   of the Federal Rules of Bankruptcy Procedure (the "Bankruptcy Rules"). Dinsmore will seek

  3   compensation from the within bankruptcy estate pursuant to 11 U.S.C. §§ 330 and 331.

  4          The Trustee believes Dinsmore is qualified to represent him and that it is necessary to

  5   employ Dinsmore in this Case. Dinsmore has no material conflicts of interest adverse to the

  6   bankruptcy estate and Dinsmore is a disinterested person. The Application is made pursuant to 11

  7   U.S.C. § 327. Dinsmore has not received a retainer in connection with its proposed representation

  8   of the Trustee. "Connections" as defined in Federal Rules of Bankruptcy Procedure, Rule 2014 to

  9   creditors and parties in interest are set forth in the Celentino Declaration (as defined in the

 10   Application) filed in connection with the Application.

 11          The rates for this Case for some of the lawyers and paraprofessionals expected to be

 12   primarily involved in this Case are as follows:

 13
                                                                                             Discounted
                                                                           Published
 14            Name                                Title                                     Rate for this
                                                                           Hourly Rate       Case
 15
               Christopher Celentino               Partner                         $831.25        $825.00
 16
               Peter J. Mastan                     Partner                         $740.00         $740.00
 17
               Lovee D. Sarenas                    Partner                         $660.00         $660.00
 18
               Christopher B. Ghio                 Partner                         $625.00        $595.00
 19
               Jeremy B. Freedman                  Associate                       $445.00         $445.00
 20
               Jonathan B. Serrano                 Associate                       $390.00         $390.00
 21

 22            Caron Burke                         Paraprofessional                $250.00        $225.00

 23          The Trustee understands that these billing rates are generally revised on or about January 1
 24   of each year, but that the above rates will remain consistent in this Case through December 31,
 25   2023. For other professionals, the rate will be the published hourly rate generally in effect for the
 26   period during which the services are rendered. Because the fees are based on hourly rates and
 27   correspond to the experience, expertise and track record of each individual, the Trustee believes the
 28   terms and conditions of Dinsmore's employment are reasonable.
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  1          In addition to the hourly rates set forth above, Dinsmore customarily charges its clients for

  2   items of cost and expense incurred in our work on this matter. Items which will be charged

  3   separately include copying, messenger services, filing fees, postage and express services, long

  4   distance telephone calls, telecopying, IP conversion services, computerized legal research,

  5   computer-assisted document preparation, support staff overtime when necessary, and similar items.

  6          Dinsmore intends to apply to the Court for allowance of such compensation and

  7   reimbursement of expenses in accordance with the applicable provisions of the Bankruptcy Code,

  8   the Bankruptcy Rules, Local Bankruptcy Rules, the standing orders of this Court, and the

  9   guidelines, practices and customs of the Office of the U.S. Trustee. Where appropriate, Dinsmore

 10   may engage third-party providers to perform specific services. As with Dinsmore's hourly rates,

 11   the cost and expense schedule is generally updated on or about January 1 of each year. The current

 12   rates for these charges are set forth in Exhibit "A" to the Celentino Declaration.

 13          Deadline for Filing and Serving Opposition Papers and Request for a Hearing:

 14          PLEASE TAKE FURTHER NOTICE that any response and request for hearing as to the

 15   proposed employment must be in the form as required by Local Bankruptcy Rules 9013-1(f)(1) and

 16   (o), and must be filed with the Clerk of the above-entitled Court. The deadline for any response and

 17   request for hearing is fourteen (14) days after the date service of this Notice, plus an additional three

 18   (3) days if this Notice was served by mail or pursuant to F.R.Civ.P. 5(b)(2)(D) or (F). A copy of

 19   any response or request for hearing must be served on the Movant (and proposed special counsel).

 20   A copy must also be served on the Office of the United States Trustee, 411 West Fourth Street, Suite

 21   7160, Santa Ana, CA 92701. Failure to timely respond may be deemed as acceptance of the

 22   proposed relief. See Local Bankruptcy Rule 9013-1(h).

 23   Date: June 7, 2023                             DINSMORE & SHOHL LLP

 24
                                                     By:
 25                                                        Christopher Celentino
 26                                                        Proposed Special Counsel to the Chapter 11
                                                           Trustee, Richard A. Marshack
 27

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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
655 W. Broadway, Suite 800, San Diego, California 92101

A true and correct copy of the foregoing document entitled (specify): NOTICE OF FILING APPLICATION PURSUANT
TO 11 U.S.C. SECTION 327(a) AUTHORIZING THE RETENTION AND EMPLOYMENT OF DINSMORE & SHOHL
LLP AS SPECIAL COUNSEL FOR CHAPTER 11 TRUSTEE RICHARD A. MARSHACK AND OPPORTUNITY TO
REQUEST A HEARING

will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On June 7,
2023, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following
persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

                                                                                  Service information continued on attached page




2. SERVED BY UNITED STATES MAIL:
On June 7, 2023, I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first
class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.




                                                                                  Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on June 7, 2023, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

                                                                                  Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


 June 7, 2023                    Caron Burke
 Date                            Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


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        1.           TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

                     Ronald K Brown on behalf of Creditor SDCO Tustin Executive Center, Inc.
                     ron@rkbrownlaw.com

                     Shawn M Christianson on behalf of Interested Party Courtesy NEF
                     cmcintire@buchalter.com, schristianson@buchalter.com

                     Richard H Golubow on behalf of Creditor Debt Validation Fund II, LLC
                     rgolubow@wghlawyers.com, jmartinez@wghlawyers.com;svillegas@wghlawyers.com

                     Richard H Golubow on behalf of Creditor MC DVI Fund 1, LLC
                     rgolubow@wghlawyers.com, jmartinez@wghlawyers.com;svillegas@wghlawyers.com

                     Richard H Golubow on behalf of Creditor MC DVI Fund 2, LLC
                     rgolubow@wghlawyers.com, jmartinez@wghlawyers.com;svillegas@wghlawyers.com

                     D Edward Hays on behalf of Interested Party Courtesy NEF
                     ehays@marshackhays.com,
                     ehays@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com;cmendoza@marshackhays.com;cmendoza@
                     ecf.courtdrive.com

                     D Edward Hays on behalf of Trustee Richard A Marshack (TR)
                     ehays@marshackhays.com,
                     ehays@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com;cmendoza@marshackhays.com;cmendoza@
                     ecf.courtdrive.com

                     Alan Craig Hochheiser on behalf of Creditor City Capital NY
                     ahochheiser@mauricewutscher.com, arodriguez@mauricewutscher.com

                     Garrick A Hollander on behalf of Creditor Debt Validation Fund II, LLC
                     ghollander@wghlawyers.com, jmartinez@wghlawyers.com;svillegas@wghlawyers.com

                     Garrick A Hollander on behalf of Creditor MC DVI Fund 1, LLC
                     ghollander@wghlawyers.com, jmartinez@wghlawyers.com;svillegas@wghlawyers.com

                     Garrick A Hollander on behalf of Creditor MC DVI Fund 2, LLC
                     ghollander@wghlawyers.com, jmartinez@wghlawyers.com;svillegas@wghlawyers.com

                     Joon M Khang on behalf of Debtor The Litigation Practice Group P.C.
                     joon@khanglaw.com

                     Joon M Khang on behalf of Plaintiff The Litigation Practice Group P.C.
                     joon@khanglaw.com

                     David S Kupetz on behalf of Interested Party Courtesy NEF
                     David.Kupetz@lockelord.com, mylene.ruiz@lockelord.com

                     Michael D Lieberman on behalf of Creditor Phillip A. Greenblatt, PLLC
                     mlieberman@lipsonneilson.com

                     Richard A Marshack (TR)
                     pkraus@marshackhays.com, rmarshack@iq7technology.com;ecf.alert+Marshack@titlexi.com

                     Laila Masud on behalf of Interested Party Courtesy NEF
                     lmasud@marshackhays.com, lmasud@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com

            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


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                     Kenneth Misken on behalf of U.S. Trustee United States Trustee (SA)
                     Kenneth.M.Misken@usdoj.gov

                     Byron Z Moldo on behalf of Interested Party Byron Moldo
                     bmoldo@ecjlaw.com, amatsuoka@ecjlaw.com,dperez@ecjlaw.com

                     Alan I Nahmias on behalf of Interested Party Courtesy NEF
                     anahmias@mbn.law, jdale@mbnlawyers.com

                     Queenie K Ng on behalf of U.S. Trustee United States Trustee (SA)
                     queenie.k.ng@usdoj.gov

                     Ronald N Richards on behalf of Interested Party Courtesy NEF
                     ron@ronaldrichards.com, 7206828420@filings.docketbird.com

                     Gregory M Salvato on behalf of Interested Party Courtesy NEF
                     gsalvato@salvatoboufadel.com,
                     calendar@salvatolawoffices.com;jboufadel@salvatoboufadel.com;gsalvato@ecf.inforuptcy.com

                     Paul R Shankman on behalf of Attorney Paul R. Shankman
                     PShankman@fortislaw.com, info@fortislaw.com

                     United States Trustee (SA)
                     ustpregion16.sa.ecf@usdoj.gov




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 1 Christopher B. Ghio (State Bar No. 259094)
   Christopher Celentino (State Bar No. 131688)
 2 DINSMORE & SHOHL LLP
   655 West Broadway, Suite 800
 3 San Diego, CA 92101
   Telephone: 619.400.0500
 4 Facsimile: 619.400.0501
   christopher.ghio@dinsmore.com
 5 christopher.celentino@dinsmore.com

 6 Proposed Special Counsel to Richard A. Marshack

 7

 8                          UNITED STATES BANKRUPTCY COURT
 9               CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION
10

11 In re:                                            Case No.: 8:23-bk-10571-SC

12 THE LITIGATION PRACTICE GROUP P.C.,               Chapter 11

13          Debtor.                                  SUPPLEMENTAL PROOF OF SERVICE
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
655 W. Broadway, Suite 800, San Diego, California 92101

A true and correct copy of the foregoing document entitled (specify): NOTICE OF FILING APPLICATION PURSUANT
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LLP AS SPECIAL COUNSEL FOR CHAPTER 11 TRUSTEE RICHARD A. MARSHACK AND OPPORTUNITY TO
REQUEST A HEARING

will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
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                                                                                  Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On June 8, 2023, I served the following persons and/or entities at the last
known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.



                                                                                  Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on June 8, 2023, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

                                                                                  Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


 June 8, 2023                         Caron Burke
 Date                            Printed Name                                                    Signature




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1.      TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

        None

2.      SERVED BY UNITED STATES MAIL:

        City Capital NY                                                                Angela Denise Blair
        c/o Maurice Wutscher LLP                                                       8711 HAYSHED LN
        23611 Chagrin Blvd. Suite 207                                                  APT 24
        Beachwood, OH 44122-5540                                                       COLUMBIA, MD 21045-2849

        SDCO Tustin Executive Center, Inc.                                             Anibal Colon Jr
        c/o RONALD K. BROWN, JR.                                                       c/o Alexander Taylor, Esq.
        901 DOVE ST., SUITE 120                                                        Sulaiman Law Group Ltd
        NEWPORT BEACH, CA 92660-3018                                                   2500 S. Highland Ave, Ste 200
                                                                                       Lombard, IL 60148-7103
        The Litigation Practice Group P.C.
        17542 17th St                                                                  Anthem Blue Cross
        Suite 100                                                                      PO Box 511300
        Tustin, CA 92780-1981                                                          Los Angeles, CA 90051-7855

        ACB Holdings, LP                                                               April Riedy
        c/o Old Hickory Partners                                                       3949 Clubview Avenue
        303 Colorado Street, Suite 2550                                                West Bloomfield Township, MI 48324-2807
        Austin, TX 78701-0023
                                                                                       Arizona Dept of Economic Security
        Abigail Beaudin                                                                PO Box 6028
        64 Thompson Street, APT 16                                                     Phoenix, AZ 85005-6028
        New York, NY 10012-4317
                                                                                       Arkansas Department of Finance and Administr
        Ajilon                                                                         Revenue Legal Counsel
        Lockbox: Dept CH 14031                                                         P.O. Box 1272, Rm. 2380
        Palatine, IL 60055-0001                                                        Little Rock, AR 72203-1272

        Alexandra H Lutfi                                                              Arkansas Dept of Finance & Admin
        11020 Alta Mesa Road                                                           PO Box 9941, Little Rock, AR 72203-9941
        Victorville Ca 92392-1828                                                      Little Rock, AR 72203-9941

        Alice Stanton                                                                  Arven Allen Knight
        160 Brookdale Ln                                                               1805 23rd St SE Apt 252B
        Indiana PA 15701-6301                                                          Washington DC 20020-4550

        American Express National Bank                                                 Ashley Glockner
        c/o Becket and Lee LLP                                                         369 W bay street
        PO Box 3001                                                                    Unit D
        Malvern PA 19355-0701                                                          Costa Mesa, CA 92627-5748


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 Azevedo Solutions Groups, Inc                                              Carolyn Beech
 420 Adobe Canyon Rd                                                        c/o Daniel Edelman, Esq.
 Kenwood, CA 95452-9048                                                     20 South Clark St., Ste1500
                                                                            Chicago, IL 60603-1824
 Beverly Graham
 c/o Bobby Walker, Esq.                                                     Christine Johnson
 Sulaiman Law Group                                                         7807 171st Place
 2500 S. Highland Ave, Ste 200                                              Tinley Park, IL 60477-3267
 Lombard, IL 60148-7103
                                                                            Cindy Newman
 Blanche whealdon                                                           19962 Nipona ct
 1317 harvard avenue                                                        Riverside CA 92508-3231
 Natrona heights, PA 15065-1424
                                                                            City Capital NY
 Blue Cross of California d/b/a Anthem Blue C                               1135 Kane Concourse
 c/o Shipman & Goodwin LLP                                                  Bay Harbour Islands, FL 33154-2025
 One Constitution Plaza
 Hartford, CT 06103-1803                                                    Collaboration Advisors
                                                                            400 Dorla Court
 Brittany Weston, Esq.                                                      Zephyr Cove, NV 89448
 3070 Bristol Pike, Suite 1-115
 Bensalem, PA 19020-5356                                                    Cory Reade Dows and Shafer
                                                                            1333 N Buffalo Drive
 Business Centers of America                                                Suite 210
 1100 Sir Francis Drake Blvd                                                Las Vegas, NV 89128-3636
 Ste 1
 Kentfield, CA 94904-1476                                                   Credit Reporting Service Inc
                                                                            548 Market St, Suite 72907
 CT Corporation - Inv                                                       San Francisco, CA 94104-5401
 PO Box 4349
 Carol Stream, IL 60197-4349                                                Darcy Williamson, Trustee
                                                                            510 SW 10th
 California Dept. of Tax and Fee Administrati                               Topeka, KS 66612-1606
 Collections Support Bureau, MIC: 55
 PO Box 942879                                                              David Ulery
 Sacramento, CA 94279-0001                                                  c/o Joshua Eggnatz, Esq,
                                                                            EGGNATZ PASCUCCI
 California Franchise Tax Board                                             7450 Griffin Road, Suite 230
 PO Box 942857                                                              Davie, FL 33314-4104
 Sacramento, CA 94257-0001
                                                                            Debra M Archambault
 Carolina Technologies & Consulting Invoice                                 5 Carlann Lane
 1854 Hendersonville Road, Suite A                                          Valley Cottage, NY 10989-1409
 PMB #178
 Asheville, NC 28803-2495

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 Debra Price                                                                Exela Enterprise Solutions
 c/o Robert Cocco                                                           2701 E. Grauwyler Road
 1500 Walnut St, Ste 900                                                    Irving, TX 75061-3414
 Philadelphia, PA 19102-3518
                                                                            Firas Abunada
 Debt Pay Pro                                                               18927 Hickory Creek Drive, Suite 115
 1900 E Golf Road, Suite 550                                                Mokena, IL 60448-8660
 Schaumburg, IL 60173-5870
                                                                            First Legal Network, LLC
 Debt Validation Fund II, LLC                                               PO Box 743451
 5075 Lower Valley Road                                                     Los Angeles, CA 90074-3451
 Atglen, PA 19310-1774
                                                                            Forth Technology, Inc.
 Denise Burtchell                                                           1900 E. Golf Road
 185 Old Canterbury Tpke                                                    Suite 550
 Norwich, CT 06360-1709                                                     Schaumburg, IL 60173-5870

 WA STATE DEPT OF LABOR &                                                   Fundura Capital Group
 INDUSTRIES                                                                 80 Broad Street, Ste 3303
 BANKRUPTCY UNIT                                                            New York, NY 10004-2845
 PO BOX 44171
 OLYMPIA WA 98504-4171                                                      GHA Technologies Inc
                                                                            8998 E Raintree Dr
 Diverse Capital LLC                                                        Scottsdale, AZ 85260-7024
 323 Sunny Isles Blvd, Ste 503
 Sunny Isles, FL 33160-4675                                                 GHA Technologies Inc
                                                                            Dept #2090
 Document Fulfillment Services                                              PO Box 29661
 2930 Ramona Ave #100                                                       Phoenix, AZ 85038-9661
 Sacramento, CA 95826-3838
                                                                            Geneve and Myranda Sheffield
 Donald and Sharon Seal                                                     c/o Jeremiah Heck, Esq
 338 N Adams St                                                             Luftman Heck & Assoc
 Plentywood, MT 59254-1666                                                  6253 Riverside Dr, Ste 200
                                                                            Dublin, OH 43017-5450
 EnergyCare, LLC
 2925 N. Green Valley Parkway                                               Georgia Dept of Labor
 Suite C                                                                    148 Andrew Young International Blvd, NE,
 Henderson, NV 89014-0418                                                   Atlanta, GA 30303-1751

 Executive Center LLC                                                       Gerardo Guzman
 5960 South Jones Blvd                                                      5515 S. Emporia
 Las Vegas, NV 89118-2610                                                   Wichita, KS 67216-3610



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 Gloria Eaton                                                               James Hammett
 c/o Kris Skaar, Esq.                                                       c/o Jenna Dakraub
 133 Mirramont Lake Dr.                                                     Price Law Group
 Woodstock, GA 30189-8215                                                   8245 N. 85th Way
                                                                            Scottsdale, AZ 85258-4349
 Harrington Electric Inc
 PO Box 886                                                                 Jane Ann Dearwester
 Skyland, NC 28776-0886                                                     P.O. Box 7084
                                                                            Asheville, NC 28802-7084
 Heba Qandeel-Kishta
 7625 Brookside Glen Drive                                                  Jason Stopnitzky
 Tinley Park, IL 60487-5197                                                 Law Offices of Leslie E. Chayo
                                                                            9454 Wilshire Blvd.,
 Hunter Hastings                                                            Penthouse
 26847 Ellis Mill Rd                                                        Beverly Hills, CA 90212-2937
 Seaford, DE 19973-4656
                                                                            Jessica Jarboe
 Imagine Reporting                                                          PO BOX 4392
 1350 Columbia Street                                                       KINGMAN AZ 86402
 Suite 703                                                                  Kingman, AZ 86402-4392
 San Diego, CA 92101-3456
                                                                            Joan P Schott
 INDIANA DEPARTMENT OF REVENUE                                              9303 Lands Point
 ATTN BANKRUPTCY                                                            San Antonio TX 78250-2876
 100 N SENATE AVE
 INDIANAPOLIS IN 46204-2253                                                 John Charles Porter
                                                                            308 South Ramsey St
 Indiana Dept of Revenue                                                    Manchester TN 37355-1735
 PO Box 1028
 INDIANAPOLIS, IN 46206-1028                                                John Ray Soriano
                                                                            1805 SE Lund Ave #1010
 INTERNAL REVENUE SERVICE                                                   Port Orchard, WA 98366-5555
 CENTRALIZED INSOLVENCY
 OPERATIONS                                                                 Johnny RIzo
 PO BOX 7346                                                                c/o Bobby Walker, Esq.
 PHILADELPHIA PA 19101-7346                                                 Sulaiman Law Group
                                                                            2500 S. Highland Ave, Ste 200
 JACLYN GOMEZ                                                               Lombard, IL 60148-7103
 109 Tottenham Lane
 Elk Grove Village, IL 60007-3818                                           Jordan Michael Kurth
                                                                            205 Walnut Drive
 JP Morgan Chase                                                            Eighty Four, PA 15330-8625
 3 Park Plaza, Ste 900
 Irvine, CA 92614-5208                                                      Juize, Inc
                                                                            PO Box 505
                                                                            Murrieta, CA 92564-0505
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                                                                            Krisp Technologies, Inc
 Karen Suell                                                                2150 Shattuck Ave
 c/o Nathan C. Volheim, Esq                                                 Penthouse 1300
 Sulaiman Law Group                                                         Berkeley, CA 94704-1347
 2500 S. Highland Ave, Ste 200
 Lombard, IL 60148-7103                                                     LHH RS
                                                                            c/o Steven Rebidas
 Kari B. Coniglio, Chapter 7 Trustee                                        4800 Deerwood Campus Parkway
 200 Public Square, Suite 1400                                              BLDG 800
 Cleveland, OH 44114-2327                                                   Jacksonville FL 32246-8319

 Kathleen Lacey                                                             Laura Ceva
 c/o David Chami, Esq.                                                      280 Black Oak Cove Road
 Price Law Group                                                            Candler, NC 28715-8139
 8245 N. 85th Way
 Scottsdale, AZ 85258-4349                                                  LexisNexus
                                                                            15500 B Rockfield Blvd
 Kathleen Scarlett                                                          Irvine, CA 92618-2722
 c/o Jeremiah Heck, Esq.
 Luftman Heck & Assoc                                                       Liberty Mutual
 6253 Riverside Dr, Ste 200                                                 PO Box 91013
 Dublin, OH 43017-5450                                                      Chicago, IL 60680-1171

 Kelly Dooley                                                               Lisa Gore
 12591 Bryant St                                                            2734 W. 18th Avenue, Apt. 1F
 Broomfield CO 80020-3847                                                   Chicago, IL 60608-1798

 Kenneth Topp                                                               MC DVI Fund 1, LLC; MC DVI Fund 2, LLC
 c/o Nathan Volheim, Esq                                                    1598 Cottonwood Dr
 Sulaiman Law Group Ltd                                                     Glenview, IL 60026-7769
 2500 S Highland Ave, Ste 200
 Lombard, IL 60148-7103                                                     MDL Group c/o Executive Center LLC
                                                                            5960 South Jones Boulevard
 Kevin Carpenter                                                            Las Vegas, NV 89118-2610
 c/o Alexander Taylor, Esq,
 Sulaiman Law Group Ltd                                                     Marc LeMauviel
 2500 S. Highland Ave, Ste 200                                              326 Macneil Way
 Lombard, IL 60148-7103                                                     Weaverville, NC 28787-6700

 Kimberly Birdsong                                                          Marc Lemauviel - Allegra
 c/o Alexander J. Taylor, Esq.                                              326 MacNeil Way
 SULAIMANLAW GROUP                                                          Weaverville, NC 28787-6700
 2500 South Highland Ave
 Suite 200
 Lombard, IL 60148-7103

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 Marich Bein LLC
 99 Wall Street                                                             Nevada Dept of Taxation
 Ste 2669                                                                   1550 College Parkway, Suite 115
 New York, NY 10005-4301                                                    Carson City, NV 89706-7939

 MarkSYS Holdings, LLC                                                      OHP-CDR, LP
 3725 Cincinnati Ave                                                        c/o Quinn Emanuel Urquhart & Sullivan LL
 Suite 200                                                                  865 S. Figueroa Street, 10th Floor
 Rocklin, CA 95765-1220                                                     Los Angeles, CA 90017-5003

 Melissa L. and Shiva L. Sooknanan                                          Outsource Accelerator Ltd
 1584 Apache Way                                                            City Marque Limited, Unit 8801-2
 Clarksville, TN 37042-8178                                                 Bldg 244-248 Des Voeux Rd
                                                                            Central Hong Kong
 Michael Schwartz
 3968 Lowry Avenue                                                          Paola Gomez
 Cincinnati, OH 45229-1310                                                  19542 Pompano Ln
                                                                            103
 Michael Yancey III                                                         Huntington Beach, CA 92648-6424
 8245 N 85th Way
 Scottsdale, AZ 85258-4349                                                  Peter Schneider
                                                                            12115 NE 165th PL
 Michael and Sarah Pierce                                                   Bothell, WA 98011-7115
 122 Southshore Drive
 Jackson, TN 38305-6223                                                     Pitney Bowes
                                                                            PO Box 981026
 Miguel A Zuanabar Jr                                                       Boston, MA 02298-1026
 812 Sumner Street
 Addison, IL 60101-1338                                                     Rapid Credit Inc
                                                                            3558 Round Barn Blvd
 Mississippi Department of Revenue                                          Suite 200
 ATTN: Bankruptcy Section                                                   Santa Rosa, CA 95403-0991
 P. O. Box 22808
 Jackson, MS 39225-2808                                                     Ronald W. Moore
                                                                            101 Aberdeen Chase Dr., Apt. D
 Mississippi Dept of Revenue                                                Easley, SC 29640-3079
 PO Box 23075
 Jackson, MS 39225-3075                                                     SBS Leasing A Program of De Lage Landen
                                                                            PO Box 41602
 Nationwide Appearance Attorneys                                            Philadelphi, PA 19101-1602
 5737 Kanan Rd #628
 Agoura Hills, CA 91301-1601                                                STATE OF NEVADA DEPARTMENT OF
                                                                            TAXATION
 Netsuite-Oracle                                                            700 E WARM SPRINGS RD STE 200
 2300 Oracle Way                                                            LAS VEGAS, NV 89119-4311
 Austin, TX 78741-1400
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 Salvatore Porcaro                                                          Twilio, Inc
 72 Dorset Drive                                                            101 Spear Street
 Clark, NJ 07066-3010                                                       Suite 500
                                                                            San Francisco, CA 94105-1559
 Security Solutions
 10911 Bloomfield St                                                        Unified Global Research Group
 Los Alamitos, CA 90720-2506                                                1660 HOTEL CIR N STE S620
                                                                            SAN DIEGO, CA 92108-2806
 Sharp Business Systems
 8670 Argent St                                                             United States Trustee (SA)
 Santee, CA 92071-4172                                                      411 W Fourth St., Suite 7160
                                                                            Santa Ana, CA 92701-4500
 Steve Malu
 2582 Se 18th Ave                                                           Utah State Tax Commission
 Gainesville FL 32641-1211                                                  210 N 1950 W
                                                                            Salt Lake City, UT 84134-9000
 Streamline Performance Inc
 1551 N Tustin, #555                                                        Validation Partners LLC
 Santa Ana, CA 92705-8634                                                   1300 Sawgrass Pkwy
                                                                            Ste 110
 TaskUs Holdings, Inc.                                                      Sunrise, FL 33323
 1650 Independence Dr
 New Braunfels, TX 78132-3959                                               Wisconsin Dept of Revenue
                                                                            PO Box 8901
 The Bankruptcy Estate of                                                   Madison, WI 53708-8901
 Steven Robert Verzal
 1251 North Eddy Street                                                     Byron Moldo
 Suite 203                                                                  9401 Wilshire Boulevard, Twelfth Floor
 South Bend IN 46617-1478                                                   Beverly Hills, CA 90212-2928

 Thomas Ray                                                                 Jason Patterson Stopnitzky
 2312 Platinum Dr                                                           52 Cupertino Circle
 Sun City Center, FL 33573-6495                                             Aliso Viejo, CA 92656-8076

 Thomson Reuters                                                            Joon M Khang
 610 Opperman Drive                                                         KHANG & KHANG LLP
 Eagen, MN 55123-1340                                                       4000 Barranca Parkway, Suite 250
                                                                            Irvine, CA 92604-1713
 Tustin Executive Center
 1630 S Sunkist Steet                                                       Paul R. Shankman
 Ste A                                                                      Fortis LLP
 Anaheim, CA 92806-5816                                                     650 Town Center Drive
                                                                            Suite 1530
                                                                            Costa Mesa, CA 92626-7021


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  1   Christopher Celentino (State Bar No. 131688)
      christopher.celentino@dinsmore.com
  2   DINSMORE & SHOHL LLP
      655 West Broadway, Suite 800
  3   San Diego, CA 92101
      Telephone: 619.400.0500
  4   Facsimile: 619.400.0501

  5   Proposed Special Counsel to the Chapter 11 Trustee,
      Richard A. Marshack
  6

  7

  8

  9                              UNITED STATES BANKRUPTCY COURT

 10                 CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION

 11

 12    In re:                                               Case No. 8:23-bk-10571-SC

 13    THE LITIGATION PRACTICE GROUP P.C.,                  Chapter 11

 14              Debtor.                                    APPLICATION PURSUANT TO 11 U.S.C.
                                                            SECTION 327(a) AUTHORIZING THE
 15                                                         RETENTION AND EMPLOYMENT OF
                                                            DINSMORE & SHOHL LLP AS SPECIAL
 16                                                         COUNSEL FOR CHAPTER 11 TRUSTEE
                                                            RICHARD A. MARSHACK
 17
                                                            Date:    No Hearing Required
 18                                                         Time:
                                                            Ctrm:    5C
 19                                                                  411 West Fourth Street, Suite 5130
                                                                     Santa Ana, California, 92701-4593
 20                                                         Judge:   Hon. Scott C. Clarkson

 21

 22

 23             Richard A. Marshack, court-appointed chapter 11 trustee (the "Trustee") in the chapter 11
 24   case (the "Case") of the above-captioned debtor, The Litigation Practice Group P.C. (the "Debtor"),
 25   hereby moves the Court for authority to retain and employ the law firm of Dinsmore & Shohl LLP
 26   ("Dinsmore") as special counsel in the Case, pursuant to Section 327(a) of Title 11 of the United
 27   States Code (the "Bankruptcy Code") and Rule 2014 of the Federal Rules of Bankruptcy Procedure
 28   ///


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  1   (the "Bankruptcy Rules"). In support of this Application, the Trustee (i) submits the accompanying

  2   Declaration of Christopher Celentino (the "Celentino Declaration"); and (ii) respectfully represents:

  3   I.     INTRODUCTION

  4          On or about March 20, 2023, a voluntary petition for relief under chapter 11 of the

  5   Bankruptcy Code in the United States Bankruptcy Court of the Central District of California was

  6   filed by the Debtor. On or about May 8, 2023, the Trustee was appointed trustee in the Case. On

  7   or about May 19, 2023, the Trustee filed an application to employ Marshack Hays LLP as its general

  8   counsel. The Trustee seeks to also retain and employ Dinsmore as the Trustee's special counsel in

  9   the Case effective as of May 8, 2023.

 10   II.    JURISDICTION

 11          The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334. Venue

 12   is proper pursuant to 28 U.S.C. §§ 1408 and 1409. This is a core proceeding pursuant to 28 U.S.C.

 13   § 157(b)(2). The relief requested herein is authorized by Section 327(a) of the Bankruptcy Code

 14   and Bankruptcy Rule 2014.

 15   III.   EMPLOYMENT OF SPECIAL COUNSEL

 16          By this Application, the Trustee seeks the entry of an order pursuant to Section 327(a) of the

 17   Bankruptcy Code approving the retention and employment of Dinsmore as his special counsel as of

 18   May 8, 2023 in the Case to perform the legal services that will be necessary during these

 19   proceedings. A proposed form of order is attached hereto as Exhibit "A."

 20          A.      Dinsmore Qualifications

 21          The Trustee seeks Court approval to retain Dinsmore as his special counsel to provide

 22   additional refined legal services as needed in the Case. The Trustee seeks to retain Dinsmore

 23   because: (i) Dinsmore has extensive experience in bankruptcy, liquidations, reorganizations, and

 24   other areas of law, applicable to the Case; (ii) Dinsmore has extensive experience in representing

 25   trustees in both chapter 11 and chapter 7 bankruptcy cases; (iii) this case requires additional

 26   assistance and potential litigation against multiple parties calling for specialized investigative and

 27   trial services of multiple attorneys; and (iv) the Trustee believes that Dinsmore is well qualified to

 28   represent the Trustee in the Case in the additional capacity as his special counsel. This Case largely

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  1   involves a complex business structure whereby Debtor operates a business that provides debt relief

  2   legal services to consumers across the country at a monthly premium. Prior to filing its petition,

  3   Debtor alleges to have assigned its clients and their corresponding monthly premiums to other law

  4   firms in exchange for a percentage executory contract with based referral fee; it appears this practice

  5   continued after the appointment of the Trustee. Dinsmore’s experience is needed to analyze the

  6   legitimacy of the assignments, determine whether additional litigation is appropriate and the impact

  7   it may have on the estate. The Trustee believes that Dinsmore will provide its expertise with respect

  8   to bankruptcy, real property, business operations and other relevant issues and will act as special

  9   counsel for the Trustee in a cost-effective manner. In short, the bankruptcy litigation trial lawyers

 10   at Dinsmore offer a deep bench of personnel to the Trustee, with the capacity to review tens of

 11   thousands of files and hundreds of thoughts of documents.

 12          Dinsmore and its lawyers represent a valuable resource upon which the Trustee may draw

 13   for assistance in such legal matters as: bankruptcy, intellectual property, real property, business

 14   litigation, commercial transactions, real estate matters, consumer debt collection practices, property

 15   of the estate issues, debtor/creditor rights, investigative matters, and defending and prosecuting

 16   federal and state civil claims of all kinds. The Trustee submits that the ability to draw on such

 17   resources makes Dinsmore especially qualified to serve as his special counsel.

 18          Christopher Celentino will be the lawyer at Dinsmore with primary responsibility for this

 19   engagement. He will be supported by Christopher B. Ghio and Jeremy B. Freedman and other

 20   professionals as the need arises or there are economic efficiencies to be gained thereby. The Trustee

 21   has been advised that pursuant to Rule 2014(b) of the Bankruptcy Rules, Court approval of the

 22   retention and employment of Dinsmore constitutes employment approval for all of the lawyers at

 23   the firm. The Trustee has been informed that Christopher Celentino, Christopher B. Ghio, and

 24   Jeremy B. Freedman, the lawyers of Dinsmore who will be primarily involved in the Case, are

 25   members in good standing of the Bar of the State of California, and all attorneys who will appear

 26   before this Court are members in good standing of this Court. Other attorneys who may be involved

 27   in the Case, are members in good standing of their applicable Bars. Dinsmore intends to use other

 28   ///

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  1   associates and paraprofessionals, supervised by Christopher Celentino or Christopher Ghio,

  2   whenever efficient and cost-effective to do so.

  3          After due consideration and deliberation, the Trustee has concluded that his interests and the

  4   interests of the estate and its creditors would be served best by the retention of Dinsmore, as special

  5   counsel to render such legal services as are necessary and appropriate in connection with the matters

  6   set forth herein and to render such additional legal services as may be required from time to time

  7   during the pendency of this Case.

  8          Subject to the Celentino Declaration submitted herewith and the disclosures contained

  9   therein, as well as the disclosures made in the engagement letter with Dinsmore (attached to the

 10   Celentino Declaration), Dinsmore has informed the Trustee that Dinsmore does not hold or represent

 11   any interest adverse to the Trustee. In addition, to the best of the Trustee's knowledge, no partner

 12   or employee of Dinsmore holds or represents any interest adverse to the Debtor's estate, and

 13   Dinsmore is "disinterested" within the meaning of Bankruptcy Code Section 101(14). (See, the

 14   Celentino Declaration at ¶8). The connections of Dinsmore to the Debtor, any known creditors of

 15   the Debtor, the estate, the Trustee, the United States Trustee, any person employed by the United

 16   States Trustee, or any other known party in interest, including their respective attorneys, are set forth

 17   in the Celentino Declaration.

 18          B.      Necessity for Employment

 19          The Trustee believes it is necessary to retain special counsel to render additional legal

 20   services relating to the continued administration of this Case, as applicable, and assist in the

 21   disposition of the estate's assets, including investigation and tracking of the complex business affairs

 22   of Debtor, real property of the estate, including the following, as applicable:

 23          1.      To analyze transactions, and transfers and any potential trustee avoidance actions

 24   and claims relating to property of the estate or potential property of the Estate and, in conjunction

 25   with all of the above, to serve as litigation counsel to the Trustee and Estate;

 26          2.      To advise Trustee regarding the laws and regulations relating to the Debtor’s

 27   business and advise, if necessary, with regard to operations, wind-down, best practices for assuring

 28   customers are properly treated and, if advisable, prepare an exit strategy with regard to the Debtor’s

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  1   business. (Applicant has several lawyers within its firm that are familiar with and understand the

  2   regulations relating to this type of business and industry). Advise and assist all necessary legal

  3   services with regard to disposition of assets of the Estate that relate in any manner to the business

  4   operations and/or the Debtor including but not limited to the Federal Debt Protection Actions Act

  5   and the Fair Credit Reporting Act;

  6           3.      Undertake an investigation of the business operations and any transfers related

  7   thereto and advise Trustee what actions should be brought against insiders, former officers, former

  8   employees, previous counsel and any other third parties;

  9           4.      Preparing on behalf of the Trustee, and/or assisting general counsel, with necessary

 10   motions, applications, answers, orders, reports, and other pleadings in connection with the

 11   administration of the estate or as required by this Court or otherwise pursuant to the Bankruptcy

 12   Code, the Bankruptcy Rules, and the Local Bankruptcy Rules for the United States Bankruptcy

 13   Court for the Central District of California ("Local Bankruptcy Rules");

 14           5.      Representing the Trustee at hearings regarding or affecting the Debtor or the estate,

 15   as needed;

 16           6.      Investigation of the Debtor and its financial affairs;

 17           7.      Prosecuting and defending litigated matters that may arise during the Case;

 18           8.      Advising the Trustee and general counsel with respect to matters in the Case;

 19           9.      Advising the Trustee and general counsel with respect to the claims (and claims

 20   objections) asserted in the Case;

 21           10.     Commencing, conducting, advising or assisting in the same as applicable, any and

 22   all litigation or other action necessary or appropriate to assert rights held by the estate or the Debtor,

 23   or protect or recover assets of the Estate or the Debtor;

 24           11.     Representing the Trustee, and/or assisting general counsel, with respect to sales of

 25   assets of the Estate, including real property;

 26           12.     Providing counseling with respect to legal matters which may arise during the

 27   pendency of the Case including, but not limited to, potential legal ethics issues; and

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  1          13.     Performing all other legal services that are necessary for the efficient and economic

  2   administration of the Case.

  3   IV.    APPROVAL OF EMPLOYMENT RETROACTIVELY IS APPROPRIATE UNDER

  4          THE CIRCUMSTANCES OF THE CASE

  5          The Trustee is requesting approval of Dinsmore's employment to be made retroactively

  6   effective to May 8, 2023 for the Case. The Trustee retained Dinsmore as its special counsel effective

  7   as of May 8, 2023 for the Case. (See In re Mahoney, Trocki & Associates, 54 B.R. 823 (Bankr. S.D.

  8   Cal. 1985)). Thus, this Application is timely filed within thirty (30) days of the date the Trustee

  9   retained Dinsmore for this Case.

 10   V.     COMPENSATION AND REIMBURSEMENT OF EXPENSES

 11          The Trustee proposes to pay Dinsmore its customary hourly rates in effect from time to time

 12   as set forth below, plus reimbursement of actual, necessary expenses incurred by the firm.

 13   Dinsmore's rates are competitive in the markets in Los Angeles, Orange County and San Diego,

 14   California among other attorneys with similar skills, experience, case results and expertise.

 15   Dinsmore intends to apply to the Court for allowance of such compensation and reimbursement of

 16   expenses in accordance with the applicable provisions of the Bankruptcy Code, the Bankruptcy

 17   Rules, the Local Bankruptcy Rules, the standing orders of this Court, and the guidelines, practices,

 18   and customs of the United States Trustee.

 19          Dinsmore has advised the Trustee that the firm may seek interim compensation during this

 20   Case as permitted by applicable sections of the Bankruptcy Code, including Sections 330 and 331

 21   and the applicable Local Bankruptcy Rules.

 22          Based upon the Celentino Declaration, the Trustee believes that no agreement or

 23   understanding exists between Dinsmore and any other entity for sharing compensation to be

 24   received for services rendered in or in connection with the Case.

 25          A.      Fees

 26          The rates for this Case for some of the primary lawyers and paraprofessionals expected to

 27   be involved in this Case are as follows:

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  1                                                                                        Discounted
                                                                          Published
              Name                                 Title                                   Rate for this
  2                                                                       Hourly Rate      Case
  3
              Christopher Celentino                Partner                       $831.25        $825.00
  4
              Peter J. Mastan                      Partner                       $740.00        $740.00
  5
              Lovee D. Sarenas                     Partner                       $660.00        $660.00
  6
              Christopher B. Ghio                  Partner                       $625.00        $595.00
  7
              Jeremy B. Freedman                   Associate                     $445.00        $445.00
  8
              Jonathan B. Serrano                  Associate                     $390.00        $390.00
  9
              Caron Burke                          Paraprofessional              $250.00        $225.00
 10

 11   The above attorneys' biographies are attached hereto as Exhibit "B."

 12          The Trustee understands that these billing rates are generally updated on or about January 1

 13   of each year, and that the above rates will remain consistent in the case through December 31, 2023.

 14   For other professionals, the rate will be the hourly rate generally in effect for the period during

 15   which the services were rendered. Because the fees are based on hourly rates and correspond to the

 16   experience, expertise and case results of each individual, the terms and conditions of Dinsmore's

 17   employment are reasonable. Dinsmore believes that much of the work on this matter can be

 18   performed by associates and paraprofessionals under Christopher Celentino's or Christopher Ghio's

 19   supervision.

 20          B.      Reimbursement of Expenses

 21          In addition to the hourly rates set forth above, Dinsmore customarily charges its clients for

 22   items of cost and expense incurred in our work on this matter. Items which will be charged

 23   separately include copying, messenger services, filing fees, postage and express services, long

 24   distance telephone calls, telecopying, IP conversion services, computerized legal research,

 25   computer-assisted document preparation, support staff overtime when necessary, and similar items.

 26   Dinsmore intends to apply to the Court for allowance of such compensation and reimbursement of

 27   expenses in accordance with the applicable provisions of the Bankruptcy Code, the Bankruptcy

 28   Rules, the Local Bankruptcy Rules, the standing orders of this Court, and the guidelines, practices

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  1   and customs of the U.S. Trustee. Where appropriate, Dinsmore may engage third-party providers

  2   to perform specific services. As with Dinsmore's hourly rates, the cost and expense schedule is

  3   generally updated on or about January 1 of each year.

  4

  5   VI.     CONCLUSION

  6           WHEREFORE, the Trustee respectfully requests that this Court enter an order authorizing

  7   it to retain and employ Dinsmore, as special counsel, as more fully described herein, effective as of

  8   May 8, 2023 for the Case, with compensation to be paid as an administrative expense in such

  9   amounts as this Court may hereinafter allow and order paid.

 10

 11    Dated: June __, 2023
                                                       Richard A. Marshack
 12                                                    Chapter 11 Trustee
 13
      Prepared and submitted by:
 14

 15   DINSMORE & SHOHL LLP

 16

 17   By:
            Christopher Celentino
 18
            Proposed Special Counsel to the Chapter 11 Trustee,
 19         Richard A. Marshack

 20

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  1                                  EXHIBIT "A"

  2                                  Proposed Order

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  1   Christopher Celentino (State Bar No. 131688)
      christopher.celentino@dinsmore.com
  2   DINSMORE & SHOHL LLP
      655 West Broadway, Suite 800
  3   San Diego, CA 92101
      Telephone: 619.400.0500
  4   Facsimile: 619.400.0501

  5   Proposed Special Counsel to the Chapter 11 Trustee,
      Richard A. Marshack
  6

  7

  8

  9                             UNITED STATES BANKRUPTCY COURT

 10                 CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION

 11

 12    In re:                                              Case No. 8:23-bk-10571-SC

 13    THE LITIGATION PRACTICE GROUP P.C., Chapter 11

 14              Debtor.                                   ORDER APPROVING APPLICATION
                                                           PURSUANT TO 11 U.S.C. SECTION
 15                                                        327(a) AUTHORIZING THE RETENTION
                                                           AND EMPLOYMENT OF DINSMORE &
 16                                                        SHOHL LLP AS SPECIAL COUNSEL
                                                           FOR CHAPTER 11 TRUSTEE RICHARD
 17                                                        A. MARSHACK

 18                                                        Date:    No Hearing Required
                                                           Time:
 19                                                        Ctrm:    5C
                                                                    411 West Fourth Street, Suite 5130
 20                                                                 Santa Ana, California, 92701-4593
                                                           Judge:   Hon. _Scott C. Clarkson
 21

 22

 23             The Bankruptcy Court having reviewed the Application (the "Application") of chapter 11

 24   trustee, Richard A. Marshack (the "Trustee"), for the above-captioned debtor, The Litigation

 25   Practice Group P.C. (the "Debtor") for authority to retain and employ the law firm of Dinsmore &

 26   Shohl LLP ("Dinsmore") as special counsel for the Trustee, and the Bankruptcy Court finding that

 27   notice of the Application was proper, that no objection to the Application was timely made, that

 28   Dinsmore is disinterested and does not hold any interest adverse to the estate or to the Trustee, and

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  1   that Dinsmore's employment is in the best interest of the Trustee and the within bankruptcy estate,

  2   and good cause appearing therefor:

  3          IT IS ORDERED that the Application be, and hereby is, granted.

  4          IT IS ORDERED that the Trustee is authorized to employ Dinsmore as his special counsel

  5   effective as of to May 8, 2023 to perform the services set forth in the Application, with compensation

  6   to be paid by the within bankruptcy estate pursuant to and upon further Bankruptcy Court approval.

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  1                                   EXHIBIT "B"

  2                               Attorneys' Biographies

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                                     Christopher Celentino
                                     Partner
                                     christopher.celentino@dinsmore.com

                                     San Diego, CA
                                     Tel: (619) 400-0519

                                     Los Angeles, CA
                                     Tel: (619) 400-0519




Christopher focuses his practice on creditor's rights, fiduciary services litigation, business reorganization and
workouts, and insolvency and bankruptcy law. His bankruptcy practice emphasizes representation of creditors and
court-appointed trustees in chapter 7 and 11 cases, as well as representation of debtors in chapter 11 cases. He
has knowledge of mechanic's lien law and related construction litigation matters, as well as family law and related
dissolution matters. His creditor's right practice emphasizes representing lenders and borrowers in workout and
restructuring of commercial loans, secured transactions, and lease transactions, and pursuit of creditor's rights in
commercial litigation matters.

He is certified as a business bankruptcy specialist by the American Board of Certification. In 2011, he was
selected as one of the "Transcript 10," comprised of 10 of the most noteworthy attorneys from San Diego County,
by the San Diego Daily Transcript. In 2012, Christopher was the president of the California Bankruptcy Forum, the
leading professional organization for bankruptcy lawyers in California, having served previously as treasurer and
secretary; in 2018, he served as a co-chair of the annual meeting.

He is also a former member and past president of the Board of Directors of the San Diego Bankruptcy Forum. He
is a member of the San Diego County Bar Association, where he served as chair of the Bankruptcy Law Section
from 1992 - 1993, and a secretary and vice president of the California State Bar Association Insolvency
Committee, as well as a former member of the Board of Directors of the Bay Area Bankruptcy Forum. He is also
former chair of the San Diego Financial Lawyers Group and has served since 1994 as a court-appointed
mediation panel member to the United States Bankruptcy Court, Southern District of California. He has served as
both a court-appointed expert and privately-engaged expert in many cases involving unique issues of bankruptcy
and divorce.

Services
    •   Corporate & Transactional
    •   Bankruptcy & Restructuring
    •   Litigation

Education


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   •   Georgetown University Law Center (J.D., cum laude, 1987)
         o Journal of Law and Technology, co-founder and editor-in-chief
          o The Georgetown law Journal, associate editor
   •   Northwestern University (B.S., 1984)

Bar Admissions
   •   California


Court Admissions
   •   U.S. Court of Appeals for the Ninth Circuit
   •   U.S. District Court for the Eastern District of California
   •   U.S. District Court for the Central District of California
   •   U.S. District Court for the Northern District of California
   •   U.S. District Court for the Southern District of California

Affiliations/Memberships
   •   California Bankruptcy Forum, past president, secretary, treasurer, board member
   •   San Diego Bankruptcy Forum, past president and board member
   •   Bay Area Bankruptcy Forum, past board member
   •   Old Town Academy K-8 Charter School, co-founder and former chair of the board
   •   ABI Southwest, Conference Board (March 2017)
   •   California State Bar Association, secretary and vice president, Insolvency Committee
   •   San Diego County Bar Association, Bankruptcy Law section, past chair
   •   American Bar Association
   •   San Diego Financial Lawyers Group, past chair
   •   U.S. Bankruptcy Court, Southern District of California, court-appointed mediation panel member (1994 -
       2012)

Distinctions
   •   Peer Review Rated AV® Preeminent™ by Martindale-Hubbell
   •   Chambers USA: America’s Leading Lawyers for Business, Bankruptcy/Restructuring (2017 - 2018)
   •   The Best Lawyers in San Diego, San Diego Magazine (2016)
   •   Best Lawyers® (2012 - 2022)


          o Bankruptcy and Creditor Debtor Rights/Insolvency and Reorganization Law and Litigation –
              Bankruptcy



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•   San Diego Super Lawyers (2007 - 2018)
•   “Transcript 10”, San Diego Daily Transcript (2011)
•   Senior Lawyer Fellowship, Center for International Legal Studies (2011)
•   Board certified in business bankruptcy law by American Board of Certification
•   Avvo Top Rated Lawyer (2022)
•   Americas Most Honored Lawyers - Top 1% (2022)




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                                      Peter J. Mastan
                                      Partner
                                      peter.mastan@dinsmore.com

                                      Los Angeles, CA
                                      Tel: (213) 335-7738




Peter is the managing partner of the Los Angeles office. He focuses his practice on bankruptcy law, commercial
and business litigation, and receiverships. His clients include bankruptcy trustees, receivers, businesses,
creditors, government entities, litigants in bankruptcy adversary proceedings, and those interested in buying
assets from bankruptcy and/or receivership estates. He counsels clients on matters including bankruptcy
avoidance action litigation (including the prosecution and defense of fraudulent transfer and preference actions),
Ponzi scheme litigation, Bankruptcy Code 363 sales, fiduciary obligations and the defense of bankruptcy-related
malpractice actions brought against fiduciaries and professionals. His experience includes the litigation and
management of more than 150 fraudulent transfer adversary proceedings as part of a Ponzi scheme where the
trustee recovered more than $100 million in assets, the litigation of more than 100 additional adversary
proceedings in a separate failed Ponzi scheme, and the successful defense of multiple law firms accused of
malpractice while representing bankruptcy estate fiduciaries.

He is also a member of the panel of Chapter 7 trustees established by the Office of the United States Trustee for
the Central District of California, and serves as a Chapter 7 trustee, Chapter 11 trustee, bankruptcy examiner and
receiver. Peter’s fiduciary experience includes the operation and liquidation of substantial commercial and
residential real properties, the operation and sale of adult residential care facilities and other businesses, and the
management of litigation-based cases, including fraud-related bankruptcy cases.

Peter is also experienced in international judgment recovery actions, having orchestrated such efforts around the
world in Sweden, Austria, the Cook Islands and other areas.

Services
    •   Corporate & Transactional
    •   Capital Markets
    •   Bankruptcy & Restructuring

Education
    •   Loyola Law School (J.D., 1997)



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          o Entertainment Law Journal – note and comment editor
          o St. Thomas More Law Honor Society
          o American Jurisprudence Awards in Secured Transactions in Personal Property and Federal Income
              Taxation
   •   University of California, Los Angeles (B.A., 1993)

Bar Admissions
   •   California
   •   District of Columbia


Court Admissions
   •   U.S. Court of Appeals for the Ninth Circuit
   •   U.S. District Court for the Central District of California
   •   U.S. District Court for the Northern District of California
   •   U.S. District Court for the Southern District of California

Affiliations/Memberships
   •   National Association of Bankruptcy Trustees
   •   Los Angeles Bankruptcy Forum, board of directors
   •   American Bankruptcy Institute
   •   California Bankruptcy Forum


          o   President (2017)
          o   Pro Bono Steering Committee, chairman (2016 - 2017)
          o   Vice president (2016)
          o   Secretary (2015)
          o   Treasurer (2014)
          o   Co-education chair (2011)
          o   Co-education chair of the Young Insolvency Professional program (2010)

   •   Central District of California, Chapter 7 panel of trustees

Distinctions
   •   California Super Lawyers®
          o For Bankruptcy and Debtor/Creditor Rights (2012 - 2019, 2021)
   •   Southern California Rising Star® (2009 - 2010)




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                                      Lovee Sarenas
                                      Partner
                                      lovee.sarenas@dinsmore.com

                                      Los Angeles, CA
                                      Tel: (213) 335-7753




Lovee concentrates her practice on trustee representations in bankruptcy cases under Chapter 7 of the
Bankruptcy Code and representing creditors’ committees and distressed small businesses in Chapter 11 cases.
She has assisted and worked with institutional banks, insurance companies, airlines, storage facilities,
commercial property owners, small businesses, and turnaround professionals.

Her experience includes counseling international companies in major retail bankruptcy cases; handling
bankruptcy-related real estate issues; defending institutional clients in a variety of bankruptcy litigation, avoidance
actions and fraudulent transfer claims; and serving as debtor-in-possession counsel to a B2B e-commerce
company in an intellectual property sale. She has experience with PACA claims and bankruptcy-related issues in
farm business reorganizations. Having a dedicated and broad bankruptcy experience enables her to create
practical, cost-efficient, and innovative solutions to a variety of insolvency situations her clients may confront.
Throughout her career, Lovee has played a critical role in a number of reorganization, bankruptcy litigation and
insolvency matters, including:

    •   Representing several Official Committees of Unsecured Creditors in various reorganization cases
        including the case of Cornerstone Apparel, Inc. which resulted in a $9.5 million settlement distribution to
        unsecured creditors;
    •   Working with defense team for an aviation client in a fraudulent transfer claim that reduced a $5 million
        claim to a de minimus settlement amount;
    •   Successfully representing and defending several institutional clients comprised of banks, mortgage
        lenders, investment and accounting firms, and a national storage facility owner in bankruptcy
        reorganization matters, and bankruptcy and avoidance litigation;
    •   Serving as counsel to international clients from China, Korea and United Kingdom in the retail industry and
        commercial landlords across California in national retail bankruptcies;
    •   Serving as co-counsel for a farming operation with over 3,000 seasonal agricultural workers in the sale of
        its farming business in Central California as part of its chapter 11 plan;




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    •   Serving as debtor-in-possession counsel in the auction sale of the client’s web services patent which sold
        for $15.5 million from a $1 million opening bid thereby resulting in a 100% distribution to unsecured
        creditors; and
    •   Working with general bankruptcy counsel team that assisted in the reorganization of a winery in Napa,
        California.
Lovee is the first Filipino-American to serve as a judicial clerk for two bankruptcy judges: the late Richard M.
Neiter and Ellen A. Carroll (ret.) of the U.S. Bankruptcy Court for the Central District of California. Before she
clerked with Judge Neiter, Lovee practiced as a restructuring attorney for a prominent chapter 11 boutique
bankruptcy firm in Northern California.

She is also active in the community, having been recognized on account of several leadership roles in bar and
community organizations in Los Angeles, including the Los Angeles Bankruptcy Forum, the Central District U.S.
Bankruptcy Court Small Business Reorganizational Task Force, UPAAGLA Board of Directors, and the California
Bankruptcy Forum. She is currently the vice president of the Los Angeles Bankruptcy Forum after a successful
year chairing its Diversity Equity & Inclusion Committee where she co-founded the Hon. Richard M. Neiter
Externship Fellowship that awards stipends to law students from underrepresented backgrounds who are full-time
externs with the federal bankruptcy judiciary in the Central District.

She is a member of the USC Gould School of Law adjunct faculty and serves as an adjunct professor of
bankruptcy law at Southwestern Law School in Los Angeles.

Services
    •   Bankruptcy & Restructuring

Education
    •   Southwestern University School of Law (J.D.)
    •   University of the Philippines (B.A.)

Bar Admissions
    •   California


Court Admissions
    •   U.S. District Court for the Central District of California
    •   U.S. District Court for the Eastern District of California
    •   U.S. District Court for the Northern District of California
    •   U.S. District Court for the Southern District of California
    •   U.S. Court of Appeals for the Ninth Circuit

Affiliations/Memberships
    •   Los Angeles Bankruptcy Forum Executive Committee
    •   Los Angeles Bankruptcy Forum Vice President


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•   U.S. Bankruptcy Court Central District of California Small Business Reorganization Task Force (2020)
•   UP Alumni Association of Greater Los Angeles Board Member and Secretary
•   Los Angeles Bankruptcy Forum Board Member
•   Philippine American Bar Association
•   Los Angeles Catholic Lawyers Association
•   American Bankruptcy Institute
•   Los Angeles Bankruptcy Forum past Membership Co-Chair
•   United States Bankruptcy Courts’ Bankruptcy Forms Modernization Project Task Force (2010)
•   Task Force on Chapter 11 Individual Cases, United States Bankruptcy Court-Central District (2010)




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                                       Christopher B. Ghio
                                       Partner
                                       christopher.ghio@dinsmore.com

                                       San Diego, CA
                                       Tel: (619) 400-0468




Christopher is trusted by a wide range of clients, including financial institutions at the local, regional and national
level; publicly traded corporations; court-appointed receivers; bankruptcy trustees; private fiduciaries; small
businesses and individuals.

Christopher’s broad-based practice includes civil litigation and appellate advocacy in state and federal courts; real
estate and corporate transactions; bankruptcy; loan workouts and restructuring.

A creative, out-of-the box thinker, Christopher employs the business sense honed from years working in his family
business to provide proactive, innovative solutions for the unique legal challenge facing each client.

This approach remains the same whether at trial in the courtroom, negotiating a deal in a boardroom, or seeking a
favorable result at mediation or arbitration. Christopher firmly believes that forward looking, strategic thinking
should be at the core of each representation.

Christopher has been lead counsel on the following significant matters including: obtaining approval of a Chapter
11 liquidating plan for a court appointed Chapter 11 Trustee in a case involving the recovery of several dozen
fraudulently conveyed rental homes; successfully defending - in a reported decision - a summary judgment in his
clients’ favor on appeal to the California Appellate and Supreme Courts; securing terminating sanctions against
plaintiffs in multi-million dollar harassment and defamation cases; securing a "no-notice" ex parte turnover order
for a Chapter 11 Bankruptcy Trustee; and negotiating and documenting a lease for multiple floors of Class A office
space.

Christopher's clients routinely compliment his proactive and diligent strategic approaches which produce
exceptional results.

Services
    •   Litigation

Education
    •   College of William and Mary, Marshall-Wythe School of Law (J.D., 2008)



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   •   University of California, Los Angeles (B.A., 2005)
          o Political Science
Bar Admissions
   •   California


Court Admissions
   •   U.S. District Court for the Central District of California
   •   U.S. District Court for the Eastern District of California
   •   U.S. District Court for the Northern District of California
   •   U.S. District Court for the Southern District of California




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                                       Jeremy B. Freedman
                                       Associate
                                       jeremy.freedman@dinsmore.com

                                       San Diego, CA
                                       Tel: (619) 400-0517




Jeremy is a results-driven litigator who focuses on the needs of his clients. He has successfully litigated cases
involving wrongful death, personal injury, professional liability, directors and officer’s liability, errors and omissions,
employment, commercial, premises liability, sexual assault and sexual harassment claims for national,
governmental, institutional, and individual clients. In a case of first impression, Jeremy successfully defended a
multimillion dollar wrongful death action for failure to use an automatic external defibrillator on a motion for
summary judgment, which was confirmed on appeal by the California Supreme Court. He has successfully tried
breach of contract cases, chaired personal injury jury trials, and has represented local and national banking
institutions in bankruptcy claims. His experience also includes implementing processes which led to improved
litigation efficiency and increased profitability while maintaining strict compliance to state and federal regulations
for three of the nation’s largest financial institutions.

Jeremy obtained his bachelors in Business Science and Business Administration with a specialization in finance
from the Ohio State University. While at OSU, Jeremy tutored underprivileged children in history and in his spare
time continues his efforts to give back to the legal community and community at large. After college, Jeremy
worked in the banking industry for over seven years at one of the world leading banking institutions working
heavily with financial regulation and business development. He obtained his law degree from Thomas Jefferson
School of Law where he was appointed Technical Editor for Law Review.

Services
    •   Litigation

Education
    •   Thomas Jefferson School of Law (J.D., magna cum laude, 2015)
    •   The Ohio State University (B.S., magna cum laude, 2001)
          o Finance
Bar Admissions
    •   California




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Court Admissions
   •   U.S. Bankruptcy Court for the Southern District of California
   •   U.S. District Court for the Southern District of California
   •   U.S. District Court for the Central District of California




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                                     Jonathan Serrano
                                     Associate
                                     jonathan.serrano@dinsmore.com

                                     Los Angeles, CA
                                     Tel: (213) 335-7758




Jonathan focuses his practice on bankruptcy restructuring matters. His experience includes representing debtors,
creditors, litigants, and buyers of distressed assets. He has litigated in district and bankruptcy courts.

Jonathan clerked for Judge Scott H. Yun, evaluating issues in countless chapter 7, chapter 13, and chapter 11
cases. For an additional year, he clerked for Judge Wayne Johnson, further developing his bankruptcy expertise.

After completing terms at the United States Bankruptcy Court, Jonathan worked for a global law firm, assisting
clients in large chapter 11 cases.

Prior to practicing law, Jonathan taught high school chemistry for several years.

Services
    •   Bankruptcy & Restructuring

Education
    •   University of California, Los Angeles School of Law (J.D.)
    •   Florida A&M University (B.S.)
           o Chemistry
Bar Admissions
    •   California




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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
655 W. Broadway, Suite 800, San Diego, California 92101

A true and correct copy of the foregoing document entitled (specify): APPLICATION PURSUANT TO 11 U.S.C.
SECTION 327(a) AUTHORIZING THE RETENTION AND EMPLOYMENT OF DINSMORE & SHOHL LLP AS SPECIAL
COUNSEL FOR CHAPTER 11 TRUSTEE RICHARD A. MARSHACK

will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On June 7,
2023, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following
persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

                                                                                  Service information continued on attached page




2. SERVED BY UNITED STATES MAIL:
On June 7, 2023, I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first
class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.




                                                                                  Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on June 7, 2023, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

                                                                                  Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


 June 7, 2023                    Caron Burke
 Date                            Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


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        1.           TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

                     Ronald K Brown on behalf of Creditor SDCO Tustin Executive Center, Inc.
                     ron@rkbrownlaw.com

                     Shawn M Christianson on behalf of Interested Party Courtesy NEF
                     cmcintire@buchalter.com, schristianson@buchalter.com

                     Richard H Golubow on behalf of Creditor Debt Validation Fund II, LLC
                     rgolubow@wghlawyers.com, jmartinez@wghlawyers.com;svillegas@wghlawyers.com

                     Richard H Golubow on behalf of Creditor MC DVI Fund 1, LLC
                     rgolubow@wghlawyers.com, jmartinez@wghlawyers.com;svillegas@wghlawyers.com

                     Richard H Golubow on behalf of Creditor MC DVI Fund 2, LLC
                     rgolubow@wghlawyers.com, jmartinez@wghlawyers.com;svillegas@wghlawyers.com

                     D Edward Hays on behalf of Interested Party Courtesy NEF
                     ehays@marshackhays.com,
                     ehays@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com;cmendoza@marshackhays.com;cmendoza@
                     ecf.courtdrive.com

                     D Edward Hays on behalf of Trustee Richard A Marshack (TR)
                     ehays@marshackhays.com,
                     ehays@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com;cmendoza@marshackhays.com;cmendoza@
                     ecf.courtdrive.com

                     Alan Craig Hochheiser on behalf of Creditor City Capital NY
                     ahochheiser@mauricewutscher.com, arodriguez@mauricewutscher.com

                     Garrick A Hollander on behalf of Creditor Debt Validation Fund II, LLC
                     ghollander@wghlawyers.com, jmartinez@wghlawyers.com;svillegas@wghlawyers.com

                     Garrick A Hollander on behalf of Creditor MC DVI Fund 1, LLC
                     ghollander@wghlawyers.com, jmartinez@wghlawyers.com;svillegas@wghlawyers.com

                     Garrick A Hollander on behalf of Creditor MC DVI Fund 2, LLC
                     ghollander@wghlawyers.com, jmartinez@wghlawyers.com;svillegas@wghlawyers.com

                     Joon M Khang on behalf of Debtor The Litigation Practice Group P.C.
                     joon@khanglaw.com

                     Joon M Khang on behalf of Plaintiff The Litigation Practice Group P.C.
                     joon@khanglaw.com

                     David S Kupetz on behalf of Interested Party Courtesy NEF
                     David.Kupetz@lockelord.com, mylene.ruiz@lockelord.com

                     Michael D Lieberman on behalf of Creditor Phillip A. Greenblatt, PLLC
                     mlieberman@lipsonneilson.com

                     Richard A Marshack (TR)
                     pkraus@marshackhays.com, rmarshack@iq7technology.com;ecf.alert+Marshack@titlexi.com

                     Laila Masud on behalf of Interested Party Courtesy NEF
                     lmasud@marshackhays.com, lmasud@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com

            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


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                     Kenneth Misken on behalf of U.S. Trustee United States Trustee (SA)
                     Kenneth.M.Misken@usdoj.gov

                     Byron Z Moldo on behalf of Interested Party Byron Moldo
                     bmoldo@ecjlaw.com, amatsuoka@ecjlaw.com,dperez@ecjlaw.com

                     Alan I Nahmias on behalf of Interested Party Courtesy NEF
                     anahmias@mbn.law, jdale@mbnlawyers.com

                     Queenie K Ng on behalf of U.S. Trustee United States Trustee (SA)
                     queenie.k.ng@usdoj.gov

                     Ronald N Richards on behalf of Interested Party Courtesy NEF
                     ron@ronaldrichards.com, 7206828420@filings.docketbird.com

                     Gregory M Salvato on behalf of Interested Party Courtesy NEF
                     gsalvato@salvatoboufadel.com,
                     calendar@salvatolawoffices.com;jboufadel@salvatoboufadel.com;gsalvato@ecf.inforuptcy.com

                     Paul R Shankman on behalf of Attorney Paul R. Shankman
                     PShankman@fortislaw.com, info@fortislaw.com

                     United States Trustee (SA)
                     ustpregion16.sa.ecf@usdoj.gov




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June 2012                                                                                           F 9013-.1.PROOF.SERVICE
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
655 W. Broadway, Suite 800, San Diego, California 92101

A true and correct copy of the foregoing document entitled: DECLARATION THAT NO PARTY REQUESTED A
HEARING ON MOTION [LBR 9013-1(o)(3)] will be served or was served (a) on the judge in chambers in the form and
manner required by LBR 5005-2(d); and (b) in the manner stated below:

will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On June
26, 2023, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

                                                                                  Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On June 26, 2023, I served the following persons and/or entities at the last
known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.



                                                                                  Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on June 26, 2023, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

JUDGE'S COPY:
Honorable Scott C. Clarkson
United States Bankruptcy Court
Central District of California
Ronald Reagan Federal Building and Courthouse
411 West Fourth Street, Suite 5130 / Courtroom 5C
Santa Ana, CA 92701-4593
                                                                                  Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


 June 26, 2023                         Caron Burke
 Date                            Printed Name                                                    Signature




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1.      TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

        Eric Bensamochan on behalf of Interested Party Eric Bensamochan
        eric@eblawfirm.us, G63723@notify.cincompass.com

        Ronald K Brown on behalf of Creditor SDCO Tustin Executive Center, Inc.
        ron@rkbrownlaw.com

        Christopher Celentino on behalf of Plaintiff Richard A. Marshack
        christopher.celentino@dinsmore.com, caron.burke@dinsmore.com

        Christopher Celentino on behalf of Trustee Richard A Marshack (TR)
        christopher.celentino@dinsmore.com, caron.burke@dinsmore.com

        Shawn M Christianson on behalf of Interested Party Courtesy NEF
        cmcintire@buchalter.com, schristianson@buchalter.com

        Randall Baldwin Clark on behalf of Interested Party Randall Baldwin Clark
        rbc@randallbclark.com

        Leslie A Cohen on behalf of Interested Party Courtesy NEF
        leslie@lesliecohenlaw.com, jaime@lesliecohenlaw.com;clare@lesliecohenlaw.com

        Christopher Ghio on behalf of Plaintiff Richard A. Marshack
        christopher.ghio@dinsmore.com

        Richard H Golubow on behalf of Creditor Debt Validation Fund II, LLC
        rgolubow@wghlawyers.com, jmartinez@wghlawyers.com;svillegas@wghlawyers.com

        Richard H Golubow on behalf of Creditor MC DVI Fund 1, LLC
        rgolubow@wghlawyers.com, jmartinez@wghlawyers.com;svillegas@wghlawyers.com

        Richard H Golubow on behalf of Creditor MC DVI Fund 2, LLC
        rgolubow@wghlawyers.com, jmartinez@wghlawyers.com;svillegas@wghlawyers.com

        D Edward Hays on behalf of Interested Party Courtesy NEF
        ehays@marshackhays.com,
        ehays@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com;cmendoza@marshackhays.com;cmendoza@ecf.court
        drive.com

        D Edward Hays on behalf of Trustee Richard A Marshack (TR)
        ehays@marshackhays.com,
        ehays@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com;cmendoza@marshackhays.com;cmendoza@ecf.court
        drive.com

        Alan Craig Hochheiser on behalf of Creditor City Capital NY
        ahochheiser@mauricewutscher.com, arodriguez@mauricewutscher.com

        Garrick A Hollander on behalf of Creditor Debt Validation Fund II, LLC
        ghollander@wghlawyers.com, jmartinez@wghlawyers.com;svillegas@wghlawyers.com

        Garrick A Hollander on behalf of Creditor MC DVI Fund 1, LLC
        ghollander@wghlawyers.com, jmartinez@wghlawyers.com;svillegas@wghlawyers.com

        Garrick A Hollander on behalf of Creditor MC DVI Fund 2, LLC
        ghollander@wghlawyers.com, jmartinez@wghlawyers.com;svillegas@wghlawyers.com

            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


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        Joon M Khang on behalf of Debtor The Litigation Practice Group P.C.
        joon@khanglaw.com

        Ira David Kharasch on behalf of Interested Party Ad Hoc Consumer Claimants Committee
        ikharasch@pszjlaw.com

        Ira David Kharasch on behalf of Interested Party Courtesy NEF
        ikharasch@pszjlaw.com

        David S Kupetz on behalf of Interested Party Courtesy NEF
        David.Kupetz@lockelord.com, mylene.ruiz@lockelord.com

        Christopher J Langley on behalf of Interested Party Courtesy NEF
        chris@slclawoffice.com, omar@slclawoffice.com;langleycr75251@notify.bestcase.com;ecf123@casedriver.com

        Daniel A Lev on behalf of Interested Party Courtesy NEF
        daniel.lev@gmlaw.com, cheryl.caldwell@gmlaw.com;dlev@ecf.courtdrive.com

        Michael D Lieberman on behalf of Creditor Phillip A. Greenblatt, PLLC
        mlieberman@lipsonneilson.com

        Richard A Marshack (TR)
        pkraus@marshackhays.com, rmarshack@iq7technology.com;ecf.alert+Marshack@titlexi.com

        Laila Masud on behalf of Interested Party Courtesy NEF
        lmasud@marshackhays.com, lmasud@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com

        Laila Masud on behalf of Interested Party Richard A. Marshack
        lmasud@marshackhays.com, lmasud@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com

        Laila Masud on behalf of Plaintiff Richard Marshack
        lmasud@marshackhays.com, lmasud@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com

        Laila Masud on behalf of Trustee Richard A Marshack (TR)
        lmasud@marshackhays.com, lmasud@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com

        Kenneth Misken on behalf of U.S. Trustee United States Trustee (SA)
        Kenneth.M.Misken@usdoj.gov

        Byron Z Moldo on behalf of Interested Party Byron Moldo
        bmoldo@ecjlaw.com, amatsuoka@ecjlaw.com,dperez@ecjlaw.com

        Alan I Nahmias on behalf of Interested Party Courtesy NEF
        anahmias@mbn.law, jdale@mbnlawyers.com

        Victoria Newmark on behalf of Interested Party Courtesy NEF
        vnewmark@pszjlaw.com

        Queenie K Ng on behalf of U.S. Trustee United States Trustee (SA)
        queenie.k.ng@usdoj.gov

        Teri T Pham on behalf of Attorney Teri Pham
        tpham@enensteinlaw.com, 3135.002@enensteinlaw.com

        Douglas A Plazak on behalf of Defendant Greyson Law Center PC
        dplazak@rhlaw.com

            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-.1.PROOF.SERVICE
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        Ronald N Richards on behalf of Defendant Consumer Legal Group, PC
        ron@ronaldrichards.com, 7206828420@filings.docketbird.com

        Ronald N Richards on behalf of Interested Party Courtesy NEF
        ron@ronaldrichards.com, 7206828420@filings.docketbird.com

        Gregory M Salvato on behalf of Interested Party Courtesy NEF
        gsalvato@salvatoboufadel.com,
        calendar@salvatolawoffices.com;jboufadel@salvatoboufadel.com;gsalvato@ecf.inforuptcy.com

        Olivia Scott on behalf of Creditor Azzure Capital LLC
        olivia.scott3@bclplaw.com

        Olivia Scott on behalf of Creditor Hi Bar Capital LLC
        olivia.scott3@bclplaw.com

        Jonathan Serrano on behalf of Plaintiff Richard A. Marshack
        jonathan.serrano@dinsmore.com

        Jonathan Serrano on behalf of Trustee Richard A Marshack (TR)
        jonathan.serrano@dinsmore.com

        Paul R Shankman on behalf of Attorney Paul R. Shankman
        PShankman@fortislaw.com, info@fortislaw.com

        Paul R Shankman on behalf of Creditor United Partnerships, LLC
        PShankman@fortislaw.com, info@fortislaw.com

        Leslie Skorheim on behalf of U.S. Trustee United States Trustee (SA)
        leslie.skorheim@usdoj.gov

        Andrew Still on behalf of Interested Party Courtesy NEF
        astill@swlaw.com, kcollins@swlaw.com

        United States Trustee (SA)
        ustpregion16.sa.ecf@usdoj.gov

        Sharon Z. Weiss on behalf of Creditor Azzure Capital LLC
        sharon.weiss@bclplaw.com, raul.morales@bclplaw.com,REC_KM_ECF_SMO@bclplaw.com

        Sharon Z. Weiss on behalf of Creditor Hi Bar Capital LLC
        sharon.weiss@bclplaw.com, raul.morales@bclplaw.com,REC_KM_ECF_SMO@bclplaw.com

        Johnny White on behalf of Interested Party Courtesy NEF
        JWhite@wrslawyers.com, jlee@wrslawyers.com;eweiman@wrslawyers.com




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June 2012                                                                                           F 9013-.1.PROOF.SERVICE
